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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

U.S. Equal Employment Opportunity
Commission
                                               Plaintiff,
v.                                                          Case No.: 1:17−cv−06753
                                                            Honorable Franklin U.
                                                            Valderrama
SC Electric Company
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 21, 2022:


         MINUTE entry before the Honorable Franklin U. Valderrama: The parties' joint
motion for entry of consent decree [201] is granted. Having reviewed the terms of the
parties' agreement, the Court deems it appropriate to enter the parties' proposed consent
decree, which it finds to be a fair, reasonable, and adequate resolution of the present
dispute. Enter Consent Decree. The Court retains jurisdiction to enforce the terms of the
consent decree as set forth in the consent decree. This action is dismissed pursuant to the
terms of the consent decree. Civil case terminated. Mailed notice (axc).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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